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                           IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLORADO

   Civil Action No.: 19-cv-00874-RBJ-MEH

   WARNER RECORDS INC., et al.,

                  Plaintiffs,

   v.

   CHARTER COMMUNICATIONS, INC.,

               Defendant.
   ______________________________________________________________________________

         PLAINTIFFS’ MOTION TO DENY WAYNE COLEMAN’S DESIGNATION
             AS A QUALIFIED PERSON UNDER THE PROTECTIVE ORDER
   ______________________________________________________________________________

          Plaintiffs, by and through undersigned counsel, submit this Motion to Deny Wayne

   Coleman’s Designation As a Qualified Person Under the Protective Order (Dkt. No. 63).

          Charter recently disclosed to Plaintiffs that it has engaged Wayne Coleman as an expert

   or consultant in this case, and accordingly would provide Plaintiffs’ Highly Confidential

   materials to him as a “Qualified Person” under paragraph 5(a)(iii) of the Protective Order

   governing this action. See Sahni Decl., Ex. 1. Plaintiffs, comprised of record companies and

   music publishers, are all too familiar with Mr. Coleman. He currently is adverse to certain

   Plaintiffs, acting as an expert consultant in at least one, if not two, pending class actions. In

   addition, he regularly acts as a royalty auditor on behalf of artists and songwriters and adverse to

   Plaintiffs, and is currently involved in several open audits adverse to Plaintiffs.
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           If Mr. Coleman is given unfettered access to Plaintiffs’ Highly Confidential materials in

   this case, the risk that he will not be able to avoid exploiting this sensitive information in his

   other roles adverse to Plaintiffs is substantial.

           Precisely because of the risk of this sort of disclosure, Plaintiffs objected in the first

   instance to producing these materials without being able to redact their financial terms, which are

   not relevant to any issue in this case. Allowing Mr. Coleman now to access these unredacted

   materials will likely bring that risk to fruition.

           The Protective Order in this case is not sufficient to guard against this risk; as a court in

   this District has recognized, once “confidential and proprietary data is reviewed by . . . [a

   litigation consultant], it will become part of his general acquired knowledge, which cannot be

   ‘unlearned’ or utilized on a selective basis,” and will be exploited in his later work in the field.

   Digital Equip. Corp. v. Micro Tech., Inc., 142 F.R.D. 488, 492 (D. Colo. 1992).

           Plaintiffs have sought to resolve their concerns with Charter informally, in accordance

   with the Protective Order. See Protective Order ¶ 14(b) (“The parties shall first try to resolve the

   dispute [over designation of an expert or consultant] in good faith on an informal basis.”). After

   Charter first notified Plaintiffs of its designation of Mr. Coleman on June 26, Plaintiffs asked

   Charter on two occasions to describe the types of documents to which Mr. Coleman would need

   access, and the subjects on which he would consult or opine—all with an eye to developing a

   workable solution for all parties. See Sahni Decl., Ex. 1. While Charter initially refused to

   provide this information, however, Charter ultimately admitted on July 7 that it intends to

   disclose to Mr. Coleman precisely the sorts of materials that animated Plaintiffs’ initial concerns.

   See id. ¶ 3.



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          In an effort to reach agreement, Plaintiffs proposed a compromise solution for the

   categories of documents about which Plaintiffs are most concerned: Plaintiffs’ Highly

   Confidential artist agreements, publishing or administration agreements, and Digital Service

   Provider agreements. Plaintiffs proposed that Mr. Coleman could receive these documents with

   information redacted and anonymized by Plaintiffs to prevent the disclosure of the identity of

   counterparties. See id. Ex. 1. Charter rejected this proposal, but Plaintiffs continue to seek a

   compromise with Charter—including other redactions, or other restrictions on Mr. Coleman—

   that would allow for Mr. Coleman to serve as an expert or consultant without presenting the

   substantial risk that he will exploit his access to highly-sensitive information here in his other

   roles adverse to Plaintiffs. Plaintiffs seek a compromise that would alleviate their concern that

   Mr. Coleman might use the information learned in these agreements to recruit additional named

   plaintiffs for the class action(s) on which he is consulting, to otherwise solicit clients adverse to

   Plaintiffs, or to gin up new claims against Plaintiffs.

           Plaintiffs and Charter continue to negotiate an informal resolution to Plaintiffs’

   objections. To preserve their rights, however, Plaintiffs file the instant motion to deny Mr.

   Coleman’s designation as a Qualified Person pursuant to the Protective Order (which requires

   that this motion be filed by today). Plaintiffs are hopeful that the parties will reach a mutually

   agreeable solution, but maintain that allowing Mr. Coleman unfettered access to their documents

   creates a risk of serious harm to Plaintiffs. Plaintiffs describe the bases for their objection below,

   and request the opportunity to provide supplemental briefing, based on the parties’ further

   discussions, in the event that negotiations do not result in a resolution of Plaintiffs’ objections.




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                                             ARGUMENT

          Pursuant to paragraph 14(b) of the Protective Order, a party may move the Court for an

   order denying designation of an expert or consultant as a Qualified Person. The objecting party

   bears the burden of demonstrating that “disclosure to the disputed expert or consultant would

   expose the objecting party to risk of serious harm.” Protective Order ¶ 14(b). Upon the filing of

   such motion, Confidential and Highly Confidential Information may not be disclosed to the

   designated expert or consultant unless and until the Court enters an order preserving their

   designation as a Qualified Person. Id.

         Providing Mr. Coleman full access to Plaintiffs’ documents would expose the Plaintiffs to

   risk of serious harm, by creating a manifest risk that certain Highly Confidential information

   would be used or disclosed beyond this litigation in a manner adverse to Plaintiffs’ interests.

         First, Mr. Coleman has been designated as a consultant in a purported class action against

   at least one Plaintiff entity (and perhaps in another purported class action brought by the same

   counsel against another Plaintiff entity), in which plaintiffs’ counsel have sought access to the

   royalty terms in other artist agreements, but discovery is not currently permitted. In each of

   those actions, the defendants—Plaintiff entities here—challenge the adequacy of the named

   plaintiff as a class representative. If designated as a Qualified Person, Mr. Coleman would have

   access to thousands of artist agreements that have not been authorized for disclosure in the

   pending action, which presents a substantial risk that those materials could be improperly used

   both to inform the prosecution of that action and to recruit additional named plaintiffs.

         Second, Mr. Coleman frequently performs royalty audits of Plaintiffs on behalf of artists

   and songwriters. Indeed, he is currently involved in several such audits. In connection with this



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   work, Mr. Coleman is not permitted access to agreements with third parties, including highly

   sensitive materials such as Plaintiffs’ agreements with other recording artists or songwriters, and

   Plaintiffs’ agreements with streaming services like Apple and Spotify, which Plaintiffs are

   producing here. If designated as a Qualified Person, Mr. Coleman would receive access to such

   materials, which may then be improperly used in Mr. Coleman’s auditing work. Indeed,

   Plaintiffs objected to producing their catalog-wide agreements in this case because of their

   extreme sensitivity, and sought to redact sensitive financial terms from the individual artist

   agreements they produced. They were ordered to provide these agreements in unredacted form,

   however, and now have significant concerns that this sensitive information will fall into the

   hands of a third-party consultant who is regularly adverse to Plaintiffs.

         Third, in connection with his royalty audits of Plaintiffs, Mr. Coleman routinely executes

   non-disclosure agreements with Plaintiffs. It is difficult to imagine how Mr. Coleman could

   consult with Charter on issues relating to Plaintiffs’ artist and songwriter agreements, royalty

   calculations, or royalty practices without necessarily violating those non-disclosure agreements.

         In light of the foregoing, the Protective Order in this case is insufficient to protect

   Plaintiffs’ information against unauthorized use or disclosure by Mr. Coleman. Put simply, Mr.

   Coleman cannot “unlearn” what he learns through his work on this case, and it would be

   impossible for Plaintiffs to police (or even learn of) any unauthorized use or disclosure of their

   Highly Confidential information—whether in future audits, or for purposes of recruiting new

   named plaintiffs in pending actions.

         In similar situations, courts have denied an expert or consultant access to the opposing

   party’s confidential materials. In Digital Equipment Corp. v. Micro Technology, Inc., 142



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   F.R.D. 488 (D. Colo. 1992), for example, the court denied the defendant’s proposed expert

   access to plaintiff’s confidential information unless he “relinquish[ed] his non-litigation

   consulting duties for [the defendant] and agree[d] to forego such assignments in the future.” Id.

   at 492. The court found that plaintiff’s confidential information “w[ould] become part of [the

   expert’s] general acquired knowledge” and could not be separated from his future work as a

   patent cross-licensing consultant. Id.; see also F.T.C. v. Exxon Corp., 636 F.2d 1336, 1350–51

   (D.C. Cir. 1980) (affirming denial of in-house counsel’s access to potential competitor’s

   “competitively sensitive” materials, on the basis that “it is very difficult for the human mind to

   compartmentalize and selectively suppress information once learned, no matter how well-

   intentioned the effort may be to do so”); Symantec Corp. v. Acronis Corp., No. 11-5310 EMC

   JSC, 2012 WL 3582974, at *3 (N.D. Cal. Aug. 20, 2012) (denying plaintiff’s proposed

   consultant access to confidential materials because he had “ongoing relationships with

   [defendant’s] competitors”); BASF Corp. v. United States, 31 F. Supp. 2d 1373, 1380–81 (Ct.

   Int’l Trade 2004) (denying the government leave to show plaintiff’s confidential documents to a

   third-party consultant because the confidential information “would become a part of [the

   consultant’s] general knowledge” and “may be inadvertently disclosed to [plaintiff’s competitor]

   during the course of [the consultant’s] on-going relationship with this . . . competitor”).

                                            CONCLUSION

          In the event that negotiations do not result in a resolution of Plaintiffs’ objections,

   Plaintiffs will notify the Court and request leave for additional briefing and supporting

   declarations. If leave is denied, however, Plaintiffs rest on the reasons stated above and request

   that the Court deny Mr. Coleman’s designation as a Qualified Person under the Protective Order.



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                           LOCAL CIVIL RULE 7.1(a) CERTIFICATION

           Pursuant to Local Civil Rule 7.1(a), Plaintiffs certify that they conferred with Charter

   regarding this motion. On June 26, 2020, Charter notified Plaintiffs that they intended to

   designate Wayne Coleman as a “Qualified Person” under Section 5(a)(iii) of the Stipulated

   Protective Order, such that he could receive Confidential and Highly Confidential materials in

   this matter. To assess Charter’s proposed designation, Plaintiffs on June 30 requested that

   Charter provide the subjects on which Mr. Coleman would consult or opine, and the categories

   of materials to which he would need access. Charter replied that it would not provide this

   information. Plaintiffs again requested this information on July 1, and Charter did not respond.

   On July 2, Plaintiffs notified Charter of their objection to Mr. Coleman’s designation, and the

   bases thereto. On July 7, the parties conferred by telephone regarding the present motion but

   were unable to reach agreement. Nevertheless, the parties have continued negotiations regarding

   a resolution to Plaintiffs’ objections.



                                                                 /s/ Jonathan M. Sperling
                                                                 Attorney




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                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that on July 9, 2020, I caused the foregoing document and all

   supporting materials thereto to be filed electronically with the Clerk of the Court using the

   CM/ECF system, which will send a notice of electronic filing to all counsel of record registered

   with CM/ECF.


                                                         /s/ Jonathan M. Sperling
                                                         Attorney




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